CaSe 2:03-cv-02950-STA-d|<v Document 89 Filed 08/02/05 Page 1 of 3 Page|D 90

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE §mjx)gy"m

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PAUL FARNSWORTH a/k/a
RONNIE BRADFIELD,

Plaintiff,
vS. NO. 03~2950-B/V
EDWARD BAXTER, et al.,

Defendants.

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ORDER DENYING MOTION FOR RECONSIDERATION

 

On Septemher 10, 2004, plaintiff Paul Farnsworth, a/k/a
Ronnie Bradfield, Tennessee Department of Correction (“TDOC”}
prisoner number 219625, who was, at the time he commenced this
action, an inmate at the West Tennessee State Penitentiary (“WTSP")
in Henning, Tennessee, filed a motion, styled “Motion for Temporary
Restraining Order and/or Preliminary Injunction,” accompanied by a
factual affidavit and the same legal memorandum that was previously

filed on May 10, 2004 and June 21, 2004.l The defendant filed a

 

1 The Court denied the plaintiff's first two applications for preliminary

injunctive relief in its August 2, 2004 order, which stated as follows:

Plaintiff's motion for a preliminary injunction also complains
about failures to provide special meals and diets that are required
by his religion; confiscation of his kippah, a head covering; and an
unspecified deprivation of other religious articles. These allegations
were not set forth in the complaint or any of its amendments, and
there is no indication that the plaintiff has filed a grievance
concerning any of these matters. In addition, the complaint does not
seek injunctive relief with respect to the alleged deprivation of the
plaintiff's right to practice his religion. For all these reasons, the
motions for a preliminary injunction or a temporary restraining order
are DENIED.

08/02/04 Order at 7 n.5.

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CaSe 2:03-cv-02950-STA-d|<v Document 89 Filed 08/02/05 Page 2 Of 3 Pag€|D 91
response to the motion on October 12, 2004. Plaintiff filed a reply
on October 22, 2004, which the Court considered despite the
plaintiff's failure to request leave to do so. The Court issued an
order denying the motion. Plaintiff filed a motion for
reconsideration on March 17, 2005. Defendant has not responded to
this motion, and the time for a response has expired.

The plaintiff first asserts that any request for
injunctive relief is not moot despite his transfer to another
prison. The plaintiff relies on the Second Circuit’s decision in
Patrick v. LeFevre, 745 F.2d 153, 156 n.2 (2d Cir. 1984), which
holds that a prisoner’s transfer to another prison does not render
his case moot where he seeks monetary relief. Patrick does not
address the effect of an inmate's transfer on his claims for
injunctive relief. For the reasons stated in the February 10, 2005
order, plaintiff's transfer rendered any such claims moot.

The February 10, 2005 order also noted that the complaint
does not seek injunctive relief. The documents submitted by this
plaintiff, which pertain to medical claims that are not currently
before the Court, have no bearing on whether the complaint seeks
injunctive relief with respect to the First Amendment claim.

The motion for reconsideration is DENIED.

IT IS SO ORDERED this l day of August, 2005.

 

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IT D sTATEs DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
case 2:03-CV-02950 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

